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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 19-61187-CIV-ALTMAN

  JASON HERSH,

         Plaintiff,
  v.

  GLOBAL MANAGEMENT
  ACQUISITION FIRM INC.,

        Defendant.
  _____________________________/

                                 FINAL DEFAULT JUDGMENT

         THIS MATTER comes before the Court on the Plaintiff’s Motion for Entry of Final

  Default Judgment (the “Motion”) [ECF No. 11]. The Court granted the Motion in a separate Order.

  Pursuant to Federal Rule of Civil Procedure 58(a), the Court hereby ENTERS THIS SEPARATE

  FINAL JUDGMENT.

         Accordingly, the Court hereby ORDERS AND ADJUDGES that Final Default

  Judgment is hereby entered in favor of the Plaintiff, Jason Hersh, and against the Defendant,

  Global Management Acquisition Firm, Inc., in the amount of $1,346.15 in actual damages,

  pursuant to 15 U.S.C. § 1692k(a)(1), and $11,000.00 for statutory damages pursuant to 15 U.S.C.

  § 1692k(a)(2)(A), 47 U.S.C. § 227(b), and Fla. Stat. § 559.77, for a total award of $12,346.15, for

  which let execution issue.

         DONE AND ORDERED in Fort Lauderdale, Florida this 17th day of September 2019.



                                                       _________________________________
                                                       ROY K. ALTMAN
                                                       UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
